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                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF OKLAHOMA


      UNITED STATES OF AMERICA,                )
                                               )
                          Plaintiff,           )
      vs.                                     )     Case No. CR-21-358-RAW
                                               )
      SILVIA VERONICA FUENTES,                 )    Date:   12/05/2022
                                               )
                          Defendant.          )     Time: 10:57 a.m. – 11:05 a.m.


               MINUTE SHEET – TELEPHONIC STATUS CONFERENCE
                         (DOCKET ENTRIES [38] & [39])

        Jason A. Robertson, Judge       R. Keeling, Deputy Clerk     K. Anderson, Law Clerk


Counsel for Plaintiff: Cameron McEwen, AUSA
Counsel for Defendant: Juan Guerra, Jr., RETAINED

MINUTES: Court calls case; Court inquires as to the status of the motions (Docket Entries [38]
& [39]) set for in person hearing on 12/6/2022. Defendant’s Counsel advised court of their
intentions of filing a motion for subpoena duces tecum by the end of the week. Defendant’s
counsel makes an oral motion to continue the Motion to Suppress (Docket Entry [39])
GRANTED, without objection. The Motion to Suppress is hereby reset for January 19, 2023, at
1:30 p.m. before Judge Jason A. Robertson in Courtroom 4. Defendant makes an oral motion to
withdraw the Motion to Compel Discovery (Docket Entry [38]) GRANTED, without objection.
Nothing further by parties.




Court adjourned.
